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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

--------------------------------------------------------- x
                                                          :
In re:                                                    :   Chapter 11
                                                          :
 MALLINCKRODT PLC, et al.,                                :   Case No. 20-12522 (JTD)
                                                          :
                            1
                  Debtors.                                :   (Jointly Administered)
                                                          :
                                                          :   Obj. Deadline: May 4, 2023 at 4:00 p.m. (ET)
--------------------------------------------------------- x   Hearing Date: May 24, 2023 at 1:00 p.m. (ET)


    GENERAL UNSECURED CLAIMS TRUSTEE’S THIRD OMNIBUS OBJECTION TO
       CERTAIN NO LIABILITY/NO SUPPORTING DOCUMENTATION CLAIMS
                           (NON-SUBSTANTIVE)

    THIS OBJECTION SEEKS TO DISALLOW AND EXPUNGE CERTAIN CLAIMS.
    CLAIMANTS SHOULD CAREFULLY REVIEW THIS OBJECTION AND THE
    EXHIBIT(S) ATTACHED TO THIS OBJECTION TO DETERMINE WHETHER THIS
    OBJECTION AFFECTS THEIR CLAIMS.


    TO THE CLAIMANTS WHOSE CLAIMS ARE SUBJECT TO THIS OBJECTION:

    * YOUR SUBSTANTIVE RIGHTS MAY BE AFFECTED BY THIS OBJECTION AND
    ANY FURTHER OBJECTIONS THAT MAY BE FILED IN THE CHAPTER 11 CASES.

    ** THE RELIEF SOUGHT IN THIS OBJECTION IS WITHOUT PREJUDICE TO THE
    RIGHTS OF THE REORGANIZED DEBTORS AND THEIR ESTATES, THE
    TRUSTEE OR OTHER PARTIES IN INTEREST TO PURSUE FURTHER
    OBJECTIONS AGAINST THE CLAIMS.




1
 A complete list of the Reorganized Debtors in these chapter 11 cases may be obtained on the website of the
Reorganized Debtors’ claims and noticing agent at http://restructuring.ra.kroll.com/Mallinckrodt. The Reorganized
Debtors’ mailing address is 675 McDonnell Blvd., Hazelwood, Missouri 63042.


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         Heather L. Barlow, solely in her capacity as the Trustee (the “Trustee”)2 of the

Mallinckrodt General Unsecured Claims Trust (the “General Unsecured Claims Trust”)

respectfully represent as follows in support of this objection (this “Objection”):

                                          RELIEF REQUESTED

         1.      By this Objection, the Trustee seeks entry of an order, substantially in the form

attached hereto as Exhibit A (the “Proposed Order”), disallowing and expunging those claims

listed on Exhibit 1 to the Proposed Order (collectively, the “No Liability/No Supporting

Documentation Claims”) because they lack the requisite supporting documentation.

                                      JURISDICTION AND VENUE

         2.      The Court has jurisdiction to consider this Objection pursuant to 28 U.S.C. §§ 157

and 1334 and the Amended Standing Order of Reference from the United States District Court for

the District of Delaware, dated February 29, 2012. This is a core proceeding pursuant to 28 U.S.C.

§ 157(b). Venue is proper before the Court pursuant to 28 U.S.C. §§ 1408 and 1409.

         3.      The statutory predicates for the relief requested herein are section 502 of title 11 of

the United States Code (the “Bankruptcy Code”), Rule 3007 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”), and Rule 3007-1 of the Local Rules of Bankruptcy Practice

and Procedure of the United States Bankruptcy Court for the District of Delaware (the “Local

Rules”).

         4.      Pursuant to Local Rule 9013-1(f), the Trustee consents to the entry of a final order

or judgment by the Court in connection with this Objection if it is later determined that the Court,




2
  Capitalized terms used herein without definition shall have the meanings ascribed to them in the General Unsecured
Claims Trustee Agreement (the “Trust Agreement”), dated as of June 16, 2022, between the Trustee and the
Reorganized Debtors [Docket No. 7684-7] or the Fourth Amended Joint Plan of Reorganization (With Technical
Modifications) of Mallinckrodt plc and its Debtor Affiliates Under Chapter 11 of the Bankruptcy Code (the “Plan”)
[Docket No. 7670].

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absent consent of the parties, cannot enter final orders or judgments consistent with Article III of

the United States Constitution.

                                        BACKGROUND

         5.     On October 12, 2020 (the “Petition Date”), the Reorganized Debtors commenced

with the Court voluntary cases (the “Chapter 11 Cases”) under chapter 11 of the Bankruptcy

Code. On October 27, 2020, the Office of the United States Trustee for the District of Delaware

(the “U.S. Trustee”) appointed, pursuant to section 1102 of the Bankruptcy Code: (a) an official

committee of unsecured creditors [Docket No. 306]; and (b) an official committee of opioid-related

claimants [Docket No. 308]. The Chapter 11 Cases have been consolidated for procedural

purposes only and are being jointly administered pursuant to Bankruptcy Rule 1015(b).

         6.     On March 2, 2022 the Court entered its Finding of Facts, Conclusions of Law, and

Order Confirming the Fourth Amended Joint Plan of Reorganization (with technical

modifications) of Mallinckrodt plc and its Debtor Affiliates Under Chapter 11 of the Bankruptcy

Code confirming the Plan.

         7.     The Plan went effective on June 16, 2022. Simultaneously therewith, the General

Unsecured Claims Trust was formed, and the Trustee was appointed.

         8.     The Trust Agreement was filed on June 22, 2022 as part of the Twentieth Plan

Supplement for the Fourth Amended Joint Plan of Reorganization (with Technical Modifications)

of Mallinckrodt PLC and its Debtor Affiliates Under Chapter 11 of the Bankruptcy Code [Docket

No. 7684-7].

         9.     The Plan also incorporated the UCC Settlement, which was filed on September 3,

2021 [Docket No. 4121] and provides, among other things, for (i) the distribution of certain cash

and non-cash consideration to Class 6 creditors via the General Unsecured Claims Trust, and (ii)



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an allocation of that consideration among the Class 6 subclasses. See Plan § III.B.6, Exh. 6. The

Plan also provides for the assumption by the General Unsecured Claims Trust of the obligation to

pay certain Allowed Class 6 and Class 7 Claims, and, in connection therewith, the right to resolve

certain Class 6 and Class 7 Claims, in accordance with the Plan and the Trust Agreement. Id. §

IV.HH.1.

         10.    Under the Trust Agreement, the Trustee is responsible for “administering,

disputing, compromising and settling or otherwise resolving and finalizing payments or other

distributions with respect to Holders of General Unsecured Claims that are General Unsecured

Claims Trust Beneficiaries under the Plan.” Trust Agreement §4.11.1.

         11.    The Trust Agreement also provides the Trustee (as defined in the Plan) the power

to “review, reconcile, allow, object to, compromise, settle and withdraw objections to General

Unsecured Claims.” Trust Agreement §3.1.4.

         12.    The Trustee relies upon and incorporates by reference the Declaration of Heather

L. Barlow in Support of the General Unsecured Claims Trustee’s [Third] Omnibus Objection to

Certain Claims (Non-Substantive) (the “Barlow Declaration”) attached hereto as Exhibit B.

                                          BAR DATES

         13.    On October 20, 2020, the Reorganized Debtors filed a motion seeking entry of an

order establishing deadlines to file proofs of claim in the Chapter 11 Cases and approval of related

procedures. On November 30, 2020, the Bankruptcy Court entered an order [Docket No. 667] (the

“Bar Date Order”) establishing certain deadlines for the filing of proofs of claim in the Chapter

11 Cases. By the Bar Date Order, the Bankruptcy Court established (i) February 16, 2021 (the

“General Bar Date”) as the general deadline for all entities (other than governmental units, as

defined in section 101(27) of the Bankruptcy Code (“Governmental Units”)) to file proofs of



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claim in the Chapter 11 Cases for all claims (other than Opioid Claims and VI Opioid Claims, each

as defined in the Bar Date Order), including but not limited to asbestos-related claims, against the

Reorganized Debtors (each such claim, a “General Claim”) and (ii) April 12, 2021 (the

“Governmental Bar Date” and together with the General Bar Date, the “Claims Bar Dates”) as

the general deadline for all Governmental Units to file proofs of claim in the Chapter 11 Cases for

all claims (other than Opioid Claims and VI Opioid Claims) against the Reorganized Debtors. No

deadline to file Opioid Claims or VI Opioid Claims has been set by the Bankruptcy Court.

          SCHEDULES, PROOFS OF CLAIM, AND CLAIMS RECONCILIATION

         14.    On December 23, 2020, the Reorganized Debtors filed their schedules of assets and

liabilities and statements of financial affairs [Docket Nos. 943-1074]. On February 26, 2021, the

Reorganized Debtors filed amended schedules of assets and liabilities and statements of financial

affairs [Docket Nos. 1528-1538] (collectively, and as may be further modified, amended, or

supplemented from time to time, the “Schedules”).

         15.    In the ordinary course of business, the Reorganized Debtors maintain books and

records that reflect, among other things, the nature and amount of the liabilities owed to their

creditors. The Trustee and her professionals, in consultation with the Reorganized Debtors and

their professionals, have been reviewing, comparing, and reconciling proofs of claims (including

any supporting documentation) with the Reorganized Debtors’ Schedules and their books and

records, including the claims register maintained in these Chapter 11 Cases (the “Claims

Register”). This reconciliation process includes identifying particular categories of claims that

may be subject to objection.

         16.    While the Trustee’s analysis and reconciliation is ongoing, the Trustee has

determined, based on her review of No Liability/No Supporting Documentation Claims and the



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documentation (or lack thereof) submitted in support thereof, that the No Liability/No Supporting

Documentation Claims should be disallowed and expunged.3 The No Liability/No Supporting

Documentation Claims fail to provide any documentary support to enable the Trustee to determine

whether such Claims should be Allowed Class 6 claims. The Trustee has also confirmed that none

of the asserted claims is listed on the Schedules filed by the Reorganized Debtor or Reorganized

Debtors against which such claims are asserted. A list of the No Liability/No Supporting

Documentation Claims is attached to the Proposed Order as Exhibit 1.

                                   BASIS FOR RELIEF REQUESTED

         17.      Section 502(a) of the Bankruptcy Code provides, in pertinent part, that “[a] claim

or interest, proof of which is filed under section 501 of this title, is deemed allowed, unless a party

in interest . . . objects.” 11 U.S.C. § 502(a). Once an objection to a claim is filed, the Court, after

notice and a hearing, shall determine the allowed amount of the claim. See 11 U.S.C. § 502(b).

         18.      Section 502(b)(1) of the Bankruptcy Code provides, in part, that a claim may not

be allowed to the extent that it “is unenforceable against the debtor and property of the debtor,

under any agreement or applicable law.” 11 U.S.C. § 502(b)(1). While a properly filed proof of

claim is prima facie evidence of the claim’s allowed amount, when an objecting party rebuts a

claim’s prima facie validity, the claimant bears the burden of proving the claim’s validity by a

preponderance of evidence. See In re Allegheny Int’l, Inc., 954 F.2d 167, 173-74 (3d Cir. 1992).

         19.      In re Allegheny International, Inc. established a three-pronged standard of review

for proofs of claims in 954 F.2d at 173-74. The first Allegheny prong requires that the claimant

“allege facts sufficient to support the claim.” Id. at 73 (“[A] claim that alleges facts sufficient to



3
 One exception, claim no. 1323, is an equity related claim and should be disallowed as an equity/no liability claim
on that basis. The Trustee lacks sufficient information to determine whether certain of the No Liability/No
Supporting Documentation Claims may otherwise be properly reclassified in another class and takes no position.

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support a legal liability to the claimant satisfies the claimant’s initial obligation to go forward.”).

See also In re Mallinckrodt Plc, No. 20-12522-JTD, 2022 WL 3545583, at *1, *4 (D. Del. Aug.

18, 2022) (finding the first prong of Allegheny not met when each proof of claim failed to allege

any conduct or provide any documents supporting allegations against any of the 62 non-defendant

debtors). The burden of persuasion with respect to the claim is always on the claimant. See In re

Allegheny Int’l, Inc., 954 F.2d at 174.

         20.    The No Liability/No Supporting Documentation Claims do not meet the standard

for establishing prima facie validity.        The majority of the No Liability/No Supporting

Documentation Claims are for an unliquidated or “undetermined” amount; those suggesting a

liquidated amount provide no support for that assertion. Additionally, to the extent each such

claim includes any reason for the claim at all, it lacks specificity (and in some cases is so overly

broad as to provide no basis at all), and, in any event, does not include any documentation to

support the assertion.

         21.    Thus, these filed claims do not on their face assert a prima facie valid claim. See

Mallinckrodt, 2022 WL 3545583, at *1,*4. These bare claims asserted, without more, do not

provide sufficient facts supporting the claim. In re Allegheny Int’l Inc., 954 F.2d at 173 (explaining

that a claimant initially bears the burden of alleging facts sufficient to support its claim). In

addition, none of the asserted claims is listed on the Schedules filed by the Reorganized Debtor or

Reorganized Debtors against which such claims are asserted.             Failure to disallow the No

Liability/No Supporting Documentation Claims will result in the applicable Claimant receiving an

unwarranted recovery to the detriment of the Reorganized Debtors’ other stakeholders.




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                                RESPONSES TO OBJECTION

         22.    Filing and Service of Responses: To contest the Objection, a claimant must file

and serve a written response to the Objection (a “Response”) so that it is actually received by the

Clerk of the Court and the parties in the following paragraph no later than 4:00 p.m. (prevailing

Eastern Time) on May 4, 2023 (the “Response Deadline”). Claimants should locate their names

and claims on Exhibit 1 to the Proposed Order and carefully review the Objection. A Response

must address each ground upon which the Claimant contests the Objection.

         23.    Each Response must be filed and served upon the following entities at the following

addresses: (a) the Clerk of the Court, 824 North Market Street, 3rd Floor, Wilmington, Delaware

19801; (b) Counsel to the Trust: Robinson & Cole LLP, 1201 N. Market Street, Suite 1406

Wilmington, DE 19801(Attn: Jamie L. Edmonson (jedmonson@rc.com), Natalie D. Ramsey

(nramsey@rc.com), Rachel Jaffe Mauceri (rmauceri@rc.com) and Goodwin Procter, LLP 620

Eighth Avenue, New York, New York 10018 (Attn: James Lathrop (jlathrop@goodwinlaw.com));

and (c) Counsel to the Reorganized Debtors: Richards, Layton & Finger, P.A., One Rodney

Square, 920 North King Street, Wilmington, Delaware 19801 (Attn: Mark D. Collins

(collins@rlf.com) and Michael J. Merchant (merchant@rlf.com)) and Latham & Watkins LLP,

330 North Wabash Avenue, Suite 2800, Chicago, Illinois 60611 (Attn: Jason Gott

(Jason.Gott@lw.com) and Jonathan Gordon (Jonathan.Gordon@lw.com)).

         24.    Content of Responses:     Every Response to the Objection must contain, at a

minimum, the following:

                a.     a caption setting forth the name of the Court, the above-referenced case
                       number, and the title of the Objection to which the Response is directed;

                b.     the name of the claimant and description of the basis for the amount of the
                       No Liability/No Supporting Documentation Claim;



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                c.     a concise statement setting forth the reasons why a particular No
                       Liability/No Supporting Documentation Claim should not be disallowed for
                       the reasons set forth in the Objection, including, but not limited to, the
                       specific factual and legal bases upon which the claimant will rely in
                       opposing the Objection at the Hearing;

                d.     all documentation or other evidence of the Claim in question, to the extent
                       not already included with the claimant’s proof of claim, upon which the
                       claimant will rely in opposing the Objection at the Hearing;

                e.     the name, address, telephone number, and fax number of the person(s) (who
                       may be the claimant or a legal representative thereof) possessing ultimate
                       authority to reconcile, settle, or otherwise resolve the Claim on behalf of the
                       claimant; and

                f.     the name, address, telephone number, and fax number of the person(s) (who
                       may be the claimant or a legal representative thereof) to whom the Trustee
                       should serve any reply to the Response.

         25.    Timely Response Required; Hearing: If a claimant whose Claim is subject to the

Objection, and who is served with the Objection, fails to file and serve a timely Response in

compliance with the foregoing procedures, the Trustee will present to the Court an appropriate

order disallowing the No Liability/No Supporting Documentation Claim without further notice to

the claimant. If a Response is properly and timely filed and served in accordance with the above

procedures, the Trustee will endeavor to reach a consensual resolution with the claimant. If no

consensual resolution is reached, the Court will conduct the Hearing with respect to the Objection

and the Response on May 24, 2023 at 1 p.m. (ET) (or such other date and time as parties filing

Responses may be notified), before the Honorable John T. Dorsey, United States Bankruptcy

Judge, at the United States Bankruptcy Court for the District of Delaware, 824 North Market Street,

5th Floor, Courtroom 5, Wilmington, Delaware 19801 (the “Hearing”). Only those Responses

made in writing and timely filed and received will be considered by the Court at any such hearing.

         26.    Adjournment of Hearing: The Trustee reserves the right to adjourn the Hearing on

any Claim included in the Objection. In the event that the Trustee so adjourns the Hearing, she


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will state that the Hearing on that particular Claim has been adjourned on the agenda for the

Hearing on the Objection, which agenda will be served on the person designated by the claimant

in its Response.

         27.     Separate Contested Matter:        Each of the No Liability/No Supporting

Documentation Claims and the Trustee’s objections thereto as asserted in this Objection constitute

a separate contested matter as contemplated by Bankruptcy Rule 9014. The Trustee requests that

any order entered by the Court with respect to an objection asserted herein will be deemed a

separate order with respect to each such No Liability/No Supporting Documentation Claim.

                                 RESERVATION OF RIGHTS

         28.     The Trustee expressly reserves the right to amend, modify, or supplement this

Objection, and to file additional objections to any other claims (filed or not) that may be asserted

against the Reorganized Debtors and their estates. Should one or more of the grounds of objection

stated in the Objection be dismissed or overruled, the Trustee reserve the right to object to each of

the No Liability/No Supporting Documentation Claims or any other proofs of claim on any other

grounds that the Trustee discovers or elects to pursue.

         29.     Nothing in this Objection will be deemed or construed: (a) as an admission as to

the validity of any claim or interest against the Reorganized Debtors; (b) as a waiver of the

Reorganized Debtors’ or the Trustee’s rights to dispute or otherwise object to any claim or proof

of interest on any grounds or basis; or (c) to waive or release any right, claim, defense, or

counterclaim of the Reorganized Debtors or the Trustee, or to estop the Reorganized Debtors or

the Trustee from asserting any right, claim, defense, or counterclaim (including setoff).




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                COMPLIANCE WITH LOCAL BANKRUPTCY RULE 3007-1

         30.     The undersigned representative of the Trustee has reviewed the requirements of

Local Rule 3007-1 and certifies that, except to the extent implicated by the relief granted in the

Order (I) Granting Leave from Local Rule 3007-1(f) to Permit the Filing of Substantive Omnibus

Objections and (II) Granting Related Relief [Docket No. 3478], the Objection substantially

complies with that Local Rule. To the extent that the Objection does not otherwise comply with

the applicable requirements of Local Rule 3007-1, the Trustee believes such deviations are not

material and respectfully request that any such requirement be waived.

                                   FURTHER INFORMATION

         31.     Questions about or requests for additional information about the proposed

disposition of the No Liability/No Supporting Documentation Claims hereunder should be directed

to the Trustee’s counsel in writing at the following address: Goodwin Procter, LLP 620 Eighth

Avenue, New York, New York 10018 (Attn: James Lathrop (jlathrop@goodwinlaw.com)) and

Robinson & Cole LLP, 1201 N. Market Street, Suite 1406, Wilmington, Delaware 198801 (Attn:

Jamie L. Edmonson (jedmonson@rc.com), Natalie D. Ramsey (nramsey@rc.com), Rachel Jaffe

Mauceri (rmauceri@rc.com)).

         32.     Timely Response Required. If a claimant fails to file and serve a timely Response,

then, without further notice to the claimant or a hearing on the Objection, the Trustee will present

the Court with an order disallowing and expunging the claim as a Class 6 claim, substantially in

the form attached hereto as Exhibit A.

         33.     Questions regarding the amount of a proof of claim, or the filing of a proof of claim,

should be directed in writing to Mallinckrodt plc Ballot Processing, c/o Kroll Restructuring

Administration LLC (f/k/a Prime Clerk LLC), One Grand Central Place, 60 East 42nd Street,



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Suite 1440, New York, NY 10165 or mallinckrodtinfo@ra.kroll.com. Claimants should not

contact the Clerk of the Court or the U.S. Trustee to discuss the merits of their Claim or the

Objection.

                                             NOTICE

         34.     Notice of this Objection will be provided to (a) the holders of the No Liability/No

Supporting Documentation Claims; (b) the U.S. Trustee; (c) the Reorganized Debtors; (d) the

Asbestos Trust (as defined in the Plan); (e) the Opioid MDT II (as defined in the Plan); and (f) all

parties entitled to notice pursuant to Bankruptcy Rule 2002. The Trustee submits that, under the

circumstances, no other or further notice is required.

         WHEREFORE, the Trustee respectfully requests entry of the Proposed Order granting

the relief requested herein and such other and further relief as the Court may deem just and

appropriate.




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Dated: April 20, 2023
       Wilmington, Delaware
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                                    Counsel for the Trustee




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